                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                        KNOXVILLE
 Case #: 3:21-cr-127                                           Date: March 14, 2022

                United States of America            vs.     Roberta Lynn Webb Allen

 PROCEEDINGS: Change of Plea. The defendant was sworn and advised of her constitutional
 rights and of the penalties of the offense charged. Report and Recommendation to follow.

 THE HONORABLE THOMAS W. PHILLLIPS, U.S. MAGISTRATE JUDGE PRESIDING


 Mallory Dahl                           Kara Nagorny                   Scott Queener
 Deputy Clerk                           Court Reporter                 Probation Officer

 Kevin Quencer                                                         Gregory Isaacs & Ashlee Mathis
 Asst. U.S. Attorney                                                   Attorney for Defendant

 ☐       No plea agreement filed
        Plea Agreement [R.29] filed on February 25, 2022 ☐ sealed  unsealed
        Defendant was arraigned and specifically advised of his rights pursuant to Rule 11 F.R.C.P.
        Defendant moved to change plea        granted ☐ denied
 ☐       The court read Counts of the Indictment
        Defendant pleaded guilty to Count 1 of the Indictment.
 ☐       Government moved to dismiss the remaining count as to this defendant at sentencing.
        Referred for Presentence Investigative Report.
        DATE SET: Sentencing: August 23, 2022 at 10:00 a.m.
                        Before: the Honorable Katherine Crytzer, United States District Judge


     • Parties must adhere to Local Rules 83.9

     • Objections must be filed and served no later than fourteen days after the change of plea
       hearing. Failure to file objections within fourteen days constitutes a waiver of any further
       right to challenge the plea of guilty in this matter.

        Defendant to remain released pending sentencing
 ☐       Defendant remanded to custody of the U.S. Marshal

 10:30 – 10:50 a.m.



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